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                                                                             2012 Aug-09 AM 11:00
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          EASTERN DIVISION

JOY DEUPREE and

DEUPREE OF SYLACAUGA,
INC.,

             PLAINTIFFS,

VS.
                                            CIVIL ACTION NUMBER:
SUBURBAN GAS PROPANE
PARTNERS, LLC, and

THOMPSON’S GAS AND
ELECTRIC SERVICE, INC.,

             DEFENDANTS.




               PLAINTIFFS’ FIRST AMENDED COMPLAINT



        COMES NOW Plaintiffs, by and through their attorney of record,

and respectfully file this First Amended Complaint as follows:

        1.     Except as set out below, Plaintiffs adopt and reallege in its

entirety all of the Counts, Claims, Paragraphs, and Allegations of Plaintiffs’

Original Complaint.
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      2.      Plaintiffs amend Paragraph 4 of the previously filed Complaint

as follows:

                    “4.   Defendant Suburban Gas Propane Partners,
                          LLC (“Suburban”) is a limited liability
                          company organized under the laws of
                          Maryland with its principal place of business
                          in Maryland. The Organizing Member of
                          Suburban is Matthew F. Gorra, who
                          Plaintiffs aver, based on information and
                          belief, is a resident citizen of Maryland over
                          the age of nineteen (19) years. The other
                          members of Suburban, if any, are unknown,
                          but Plaintiffs aver, based on information and
                          belief, that these members are not resident
                          citizens of Alabama.”

      3.      All remaining allegations of the Plaintiff's previously filed

Complaint remain the same, and the Plaintiff incorporates and adopts same

herein by reference the same as if fully set out herein.


      Respectfully submitted this 9th day of August 2012.


                                         /s/ Lisa M. Ivey_________________
                                        Lisa M. Ivey
                                        asb-2264-a36i
                                        Attorney for Plaintiffs
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                                        Suite 102
                                        Jasper, Alabama 35504
                                        (205) 384-1411
                                        lmivey@sonet.net
    Case 1:12-cv-02546-VEH Document 6 Filed 08/09/12 Page 3 of 3




PLAINTIFFS HEREBY REQUEST SERVICE UPON THE
DEFENDANTS VIA CERTIFIED MAIL

SUBURBAN GAS PROPANE PARTNERS, LLC
6708 OLD NATIONAL PIKE
BOONSBORO, MD 21713

THOMPSON’S GAS AND ELECTRIC SERVICE, INC.
6708 OLD NATIONAL PIKE
BOONSBORO, MD 21713
